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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

                                                *
UNITED STATES OF AMERICA                        *
                                                *
                                                *              NO: 4:12CR00071(01) SWW
V.                                              *
                                                *
RACIE NELSON PHILLIPS                           *
                                                *



                               FINAL ORDER OF FORFEITURE

       Before the Court is the United States motion for final order of forfeiture (ECF No. 106).

On February 14, 2013, this Court entered a Preliminary Order of Forfeiture (ECF No. 91),

ordering defendant to forfeit his interest in the following property:

a.     One Smith and Wesson 40 caliber model SW40VE, Serial Number PDK2600;

b.     One Ruger P95 9mm, Serial Number 316-58250;

c.     One High Point model 4095 40 caliber rifle, Serial Number HO9181;

d.     One Maverick 12 gauge shotgun model 88, Serial Number MV14908M;

e.     One Mossberg 12 gauge shotgun model 500A, Serial Number R179414; and

f.     All ammunition seized from Defendant and concerning the offenses charged in the

second Superseding Indictment.

       The United States published notice of this forfeiture and of the United States' intent to

dispose of the property in accordance with the law and as specified in the Preliminary Order.

See Notice of Publication (ECF No. 105). The United States posted its notice on the forfeiture

website, internet address of www.forfeiture.gov, for 30 consecutive days beginning on February

15, 2013. Further, the United States also notified all third parties of their right to petition the
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court within 30 days for a hearing to adjudicate the validity of their alleged legal interest in the

property. No one has filed a claim to the property subject to forfeiture, and the time for filing

claims has expired.

        Now the United States has petitioned the Court to enter a Final Order of Forfeiture,

which will vest all right, title, and interest in the United States. The United States also asks that

this Court authorize the United States Marshal or his designee to dispose of the property

according to law.

        The United States' motion is GRANTED. It is hereby ordered that the property subject to

forfeiture is forfeited to the United States. It is further ordered that all right, title, and interest in

the property subject to forfeiture is hereby vested in the United States of America and shall be

disposed of according to law. This Court shall retain jurisdiction in the case for the purpose of

enforcing this Order.

        IT IS SO ORDERED THIS 25th DAY OF APRIL, 2013.




                                                         /s/Susan Webber Wright

                                                         UNITED STATES DISTRICT JUDGE




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